Case 3:19-cv-08268-DLR Document 47-4 Filed 10/16/20 Page 1 of 33

EXHIBIT X-25

FOR THE DISTRICT OF ARIZONA

Elston L Stephenson, "| No, CV-19-08268-PCT-DLR

Plaintiff, | ORDER”
Brian Drapeaux,

Defendant,

The Court has reviewed United States’ Motion for Relief from Mandatory Initial
Discovery Pilot (MIDP) Requirements and Motion to Vacate Rule 16 Conference and
Associated Deadlines. (Doc. 12 ) For good cause shown,

ITIS ORDERED as follows:

The Court excuses the Parties from the MIDP requirements and vacates the Rule 16

- Scheduling Conference set for November 22, 2019 at 10:30 a.m. as well as the associated

| deadlines tied to the Rule 16 Conference.

Dated this 14th day of November, 2019.

Doustast. Rayes
Ufiited States District ce

MIME-Version:1.0 From: azddb_res @azd. useourts g gov To: azddb_| nefs@localhost.localdomain

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Notice of Electronic Filing

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Case Name: Stephenson v. Drapeaux
Case Number: 3: 19-cv-08268-DLR
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3:19-ev-08268-DLR Notice has been electronically mailed to:

Laurence G Tinsley, Jr laurence Ainsley @usdoj. gov, glenna millsaps@usdoj. gov

i 08268-DLR Notice will be sent by other me ans to those listed below if they are affected by this

filing:
Elston L Stephenson

PO Box 129

Grand Canyon, AZ 86023

The fotlowing document(s) are associated with this transaction:

Document description:Main Document

Original filename: na

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Case 3:19-cv-08268-DLR Document 47-4 Filed 10/16/20 Page 4 of 33

EXHIBIT X-26

: “Case 3:19-cv-08268-DLR Document 47-4 Filed 10/16/20 Page5o0f33.°——~S~S~S
” 9/26/2020 Mail - Elston Stephenson - Outlook

Fw: Update (Data and Research) / Fw: Important Awareness (Recommend Not for
Action Yet) - Worker Hardship No Pay for 2 Months / Fw: Request for back pay due to
Corona Virus

Stephenson, Elston L <elston_stephenson@nps.gov>
Mon 7/13/2020 4:10 PM
To: theswedepilot64@hotmail.com <theswedepilot64@hotmail.com>

by 3 attachments (1 MB)

Johns Hopkins COVID Trend Tracker (7-13-2020).pptx; CDC Navajo Nation COVID Tracker (7-13-2020).ppt¢ ADHS COVID-19
Data Dashboard (7-13-2020).pptx;

From: Stephenson, Elston L <elston_stephenson@nps.gov>

Sent: Monday, July 13, 2020 8:58 AM

To: Keable, Edward T <edward_keable@nps.gov>

Cc: Burnette, Chris C <chris_burnette@nps.gov>

Subject: Update (Data and Research) / Fw: Important Awareness (Recommend Not for Action Yet) - Worker
Hardship No Pay for 2 Months / Fw: Request for back pay due to Corona Virus

Ed,
Good Morning.
Please receive the updated data and research into this matter.

According to CDC and Arizona Department of Health Services the entire Navajo Nation's percent of
positives of 13.7% (8,142/59,331) is AMAZINGLY exactly the same 13.7% (123,824/899,994) percent
positive as Arizona's. (refs. 1, 2, attached). This, of course means that Navajo Nation's rate is most likely
lower as the entire Nation is comprised of Arizona, Utah, and New Mexico.

’ But as Arizona's John's Hopkins show an alarming---nation/world leading 26.6% rate of positives. (ref. 3,
5, attached)

The application of protection measures applied to Navajo Nation workers by GRCA is disparate, much
more restrictive, and counter to science and data than what we apply to non-Navajo GRCA workers.
Despite the fact that while President-Nez himself describes "...really stringent public health orders";
there is no such uniform protection measures (public health orders) between here and Phoenix. (ref. 4)

Please also know that | received a call from Norm Johnson this morning---more upset as he opened his
LES over the weekend to find that 80 hours of Annual Leave was deducted without his permission and

consultation.

Ed, in Norm's own words; beyond the financial hardship and stress, it looks like and feels like GRCA is
discriminating against him because he is Navajo.

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9/20/2020 Mail - Elston Stephenson - Outlook

Again, |'m optimistic the Big Brains and Good People of this morning's meeting can find an equitable
solution which is good for Norm and good for the Park. Hopefully the data informs and helps.

Thank You

Very Sincerely,

Elston
928-255-8727

References

1. Department of Health and Human Services (2020). CDC. Navajo nation tracker. Retrieved from
https://www.ncdoh.navajo-nsn.gov/COVID-19

2. Arizona Department of Health Services (2020). ADHS Arizona data dashboard. Retrieved fram
https://www.azdhs.gov/preparedness/epidemiology-cisease-control/infectious-disease-epidemiology/covid-
19/dashboards/

3. John Hopkins University & Medicine (2020). Coronavirus Resource Center. Testing hub, testing trends tool
(Arizona). Retrieved from https://coronavirus jhu.edu/testing/tracker/overview

4, McMorris-Santoro E (2020), CNN. What states can learn from navajo nation’s case rebound, Retrieved fram
https://www.cnn.com/videos/health/2020/07/12/navajo-nation-coronavirus-case-study-arizona-spike-jonathan-
nez-mermorris-santoro-nr-vpx.cnn/video/playlists/coronavirus/

5. Leingang R, Steinbach A. (2020) Arizona Republic Arizona. Arizona has highest percentage of positive COVID-19

tests in the US. here’s what it means. Retrieved from https://www.azcentral.com/story/news/local/arizona-
health/2020/07/07/why-arizonas-percent-positive-tests-hizhest-country/5386600002/

From: Stephenson, Elston L <elston_stephenson@nps.gov>

Sent: Friday, July 10, 2020 7:41 AM

To: Keable, Edward T <edward_keable@nps.gov>

Ce: Burnette, Chris C <chris_burnette@nps.gov>

Subject: Important Awareness (Recommend Not for Action Yet) - Worker Hardship No Pay for 2 Months / Fw:
Request for back pay due to Corona Virus

Ed,
Good Morning.

Please receive this Awareness brief with recommendation of 'Not For Action’.........0004 yet, Please also
know that this situation has outsized implications for GRCA's reputation (internally and externally) for
looking after its workers, GRCA's reputation with Native Tribes, and in particular; GRCA's reputation and
relationship with the Navajo Nation.

A GRCA FMD worker is seeking to have some form of COVID-19 options or EFMP retroactively applied
because he has not been paid in 2 months as he has had to care for his ailing mother and negotiate the
COVID-19 tragedy striking the Navajo Nation, the Nation's quarantine/lockdown/curfew restrictions, and
the GRCA quarantine protocols upon returning to GRCA.
“Case 3:19-cv
9/20/2020 Mail - Eiston Stephenson - Outlook

This worker has spoken with his supervisory chain; Zane Johnson and Donna Richardson. He has also
contacted Mike Collins and Lisa Carrico. There is a meeting scheduled with Zane, Donna, Mike, and Lisa
on Monday July 13, 2020. | do not know if the worker will be at the meeting.

Ed, yesterday evening an FMD AutoShop worker, Norm Johnson came to me (extremely upset) to share
that he has not been paid in 2 months and that it is creating an unbearable economic hardship to him
personally and his family on the Navajo Reservation. He left to take care of his mother on the Navajo
Reservation sometime on or before March 25, 2020 and has not been paid between then and June 11,

2020.

Norm (a solid worker and person, a veteran who has been at GRCA for nearly 20 years) has an ailing
mother (elderly with lung cancer) who lives on the Navajo Nation. He has had a longstanding
arrangement worked out with his siblings where they take care of her during the week, and Norm
returns and takes care of her during the weekends. He also contributes financially.

Apparently, somehow none of the options created precisely to avoid just this type of such hardship (e.g.
EFMP, Admin Leave, Weather Leave, Safety Leave) were applied.

Also, in the time that this situation first developed until now, the ‘earth has shifted’ in the awareness
and application of the options in the course of the COVID-19 pandemic which best expresses our
consideration and care of our workers.

A complicating matter is that other workers who came along later appear to be currently negotiating the
COVID tragedy and quarantine/curfew restrictions of the Navajo Nation may be benefiting from the
later, more considerate application of the options.

Lastly, as an auto mechanic, there seems to be a ‘penalty’ insofar as Norm is precluded from
‘quarantining’ while working (as many others can telework) simply by virtue of his job.

| had a conversation with Mike Collins immediately after my conversation with Norm Johnson. He seems
to agree in principle that there options that may be able to retroactively apply which are equitable, take
care of Norm, take care of the Park, and which may even provide a word-of-mouth reputational benefit

to the Park.

Donna is one of our best leaders. Lisa and Dr. Mike are among our best minds. | am optimistic that they
will do what is best and equitable for Norm.

My hope is that it is realized that what is equitable and best for Norm is also what is best for the Park
and the NPS.

Again, Sir, my recommendation is that this is for Awareness. Between Donna, Dr. Mike, and certainly
Lisa, | am confident that a successful solution will be found. Ordinarily, | would have felt that in the
hands of these leaders to sit still. Respectfully, however; this does potentially have far reaching,
oversized implications for GRCA's reputation (internally and externally) for looking after its workers,
GRCA's reputation with Native Tribes, and in particular; GRCA's reputation and relationship with the
Navajo Nation. As You know, these will be invaluable during the years ahead in dealing with the
development and turns of this pandemic. ,

Please receive the summary that Norm Johnson forwarded to me (below).

-08268-DLR Document 47-4 Filed 10/16/20 Page 70f33-

9/20/2020 Mail - Eiston Stephenson ~ Outlook
Thank You.

Very Sincerely,
Elston

Elston L Stephenson, OHST

Safety Health & Wellness Manager
Tort Claims Officer

Grand Canyon National Park
928-255-8727

From: Johnson, Norman NJ <Norman_Johnson@nps.gov>
Sent: Thursday, July 9, 2020 4:14 PM

To: Stephenson, Elston L <elston_stephenson@nps.gov>
Subject: Request for back pay due to Corona Virus

lam requesting back pay and annual leave for (4) pay periods starting on March 25th till June 11th. | was
placed on stay at home orders on March 25th and told to come back to work on April 20th.| came back
on that date and was notified to take two weeks quarantine before starting work posted on my shop
door.| talked to Donna Richardson on that day and told her this was not possible for me to work and
quarantine every week due to me commuting to the reservation every week end to take care of my
elderly mother whom was diagnosed with lung cancer. | told Donna that | will stay on the reservation to
take care of my mom and stay there till the pandemic is over. | asked her if | will still be getting admin
pay referring to the weather&safety leave per the Navajo Nation public health authority memo sent by
Mary Risser. Donna told me that | will not be getting admin pay because | am going back to the
Reservation on my own decision. My immediate supervisor Zane Johnson also told me that | have to
either use annual or sick leave to get payed. | informed Donna and Zane that | will instead take leave
without pay because | did not want to utilize my hard earned annual leave and sick leave because of the
Corona virus. | was on leave without pay for (4) pay periods on the reservation where we were subject
to nightly and week end curfews. | was informed to came back to work on June 15th but told my
supervisor Zane Johnson that | wanted to take sick leave that week due to my allergy problem.| finally
went back to work on June 22nd and was informed by my supervisor that there was no more quarantine
required and only a 25 question check list that my supervisor completed prior to me coming back to
work. Due to this Corona virus pandemic | had a pay stoppage. Upon coming back to work | informed
Donna and Zane that | would like to request back pay.Donna said that she will mention it to Zane. | asked
Zane what Donna told him and he said that Donna neither said yes or no to the back pay request before
she went on leave. | had previously notified Lisa Carrico on this matter and also informed Mike Collins.
As a federal employee,a tribal member,and a military veteran this Corona virus pandemic should not
Cause a pay disruption or pay stoppage to myself or anyone. No employee should be subject to unwillfull
quarantine and told to utilize their annual&sick leave because of this Corona pandemic.All employees
should be treated fairly and equally throughout this pandemic.

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EXHIBIT X-32

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EXHIBIT X-33

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EXHIBIT X-30

Case 3:19-cv-08268-DLR Document 47-4 Filed 10/16/20 Page 16 of 33

September 15, 2020

Mr. Secretary,

Sir, good morning.

As you know, I have a federal US District Court case against GRCA Dep Superintendent Drapeaux for stalking my
home, and an EEOC case against DOI in its final stage awaiting a hearing before a federal Administrative Judge.

| request that these legal proceedings be allowed to move to their conclusions without interference.

Much bad has gone on here at Grand Canyon National Park which can be determined while awaiting the court
cases to come to their conclusions. Nothing is lost. In fact, much is gained.

Respectfully, wait for these conclusions before forcing me to ‘interview’.

Forcing me to ‘interview’ with the Inspector General (or third parties) violates the law, the courts, and Discovery
in-both cases, and my Constitutional right against ‘self-incrimination’.

Insofar as the U.S. Attorney—prosecutors are the opposing counsel in the stalking case; in addition to violating
my 5 Amendment right, it creates jeopardy for me.

My intention all along has been to go through the courts to seek justice and to protect my workers and visitors,
and my park from getting hurt, and to end Grand Canyon National Park’s Racism.

While | am representing myself pro se; acts of intimidation, retaliation, and attempts to undermine my rights or
the cases in federal court will be reported to the courts, and force me to very publicly seek legal representation.

Respectfully, the story right now is that bad people running Grand Canyon National Park did bad things. And that
new people have shown up to fix it.

Retaliation, of any sort, and/or attempts to undermine my cases, harm or intimidate me changes the story and
puts everyone involved in jeopardy.

Respectfully, | ask and recommend that whatever investigation takes place, takes place without me until the
court cases resolve and can be used as facts and findings added to the investigations. And that my rights are not
violated, and no intimidation or retaliation are directed at me.

Thank You.

Sincerely,

ae Aew

Elgton L Stabhenson, PHST

Safety Heath & Welfhess Manager
Tort Claims Officer

Grand Canyon National Park
928-255-8727

Cc: Douglas L. Rayes, United States District Judge
Equal Employment Opportunity Commission

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EXHIBIT X-36

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GCNP Jeanne Calhoun

Jul 5, 2019, 2:47 AM

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No reason for You to feel bad,
Elston! This is totally Brian’s doing.
Might help explain why folks are so
upset at him.

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Case 3:19-cv-08268-DLR Document 47-4 Filed 10/16/20 Page 20 of 33

EXHIBIT X-37

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GRCA Louis Rowe

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Good morning, Elston. How much
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Ok. | will approve annual leave after
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investigator and you and she are
both in agreement with where we
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Case 3:19-cv-08268-DLR Document 47-4 Filed 10/16/20 Page 22 of 33

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GRCA Louis Rowe

Ok. | will approve annual leave after
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investigator and you and she are
both in agreement with where we
stand on this investigation interview.
You can do this without driving
back.

If you do not make contact, | will not
approve further leave. This is
because the NPS and DO! both
have policies to close these
investigations as soon as feasible,
and this one needs to be
completed. Without an approved
leave authorization, | would be
forced by policy to place you in an
absent without leave status.

Let me know if you have questions.
V/R

Louis Rowe

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Great, thanks. | will go into
QuickTime tomorrow at work. Did
you get your QuickTime entered?

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GRCA Louis Rowe

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You can do this without driving
back,

If you do not make contact, | will not
approve further leave. This is
because the NPS and DO! both
have policies to close these
investigations as soon as feasible,
and this one needs to be
completed. Without an approved
leave authorization, | would be
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absent without leave status.

Let me know if you have questions.
V/R

Louis Rowe

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Thanks —

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Fw: Update (Data and Research) / Fw: Important Awareness (Recommend Not for
Action Yet) - Worker Hardship No Pay for 2 Months / Fw: Request for back pay due to
Corona Virus

Stephenson, Elston L <elston_stephenson@nps.gov>
Mon 7/13/2020 4:10 PM
To: theswedepilot64@hotmail.com <theswedepilot64@hotmail.com>

i) 3 attachments (1 MB)

Johns Hopkins COVID Trend Tracker (7-13-2020).pptx; CDC Navajo Nation COVID Tracker (7-13-2020).pptx, ADHS COVID-19
Data Dashboard (7-13-2020).pptx;

From: Stephenson, Elston L <elston_stephenson@nps.gov>

Sent: Monday, July 13, 2020 8:58 AM

To: Keable, Edward T <edward_keable@nps.gov>

Cc: Burnette, Chris C <chris_burnette@nps.gov>

Subject: Update (Data and Research) / Fw: Important Awareness (Recommend Not for Action Yet) - Worker
Hardship No Pay for 2 Months / Fw: Request for back pay due to Corona Virus

Ed,
Good Morning.
Please receive the updated data and research into this matter.

According to CDC and Arizona Department of Health Services the entire Navajo Nation's percent of
positives of 13.7% (8,142/59,331) is AMAZINGLY exactly the same 13.7% (123,824/899,994) percent
positive as Arizona's. (refs. 1, 2, attached). This, of course means that Navajo Nation's rate is most likely
lower as the entire Nation is comprised of Arizona, Utah, and New Mexico.

’ But as Arizona's John's Hopkins show an alarming---nation/world leading 26.6% rate of positives. (ref. 3,
5, attached)

The application of protection measures applied to Navajo Nation workers by GRCA is disparate, much
more restrictive, and counter to science and data than what we apply to non-Navajo GRCA workers.
Despite the fact that while President Nez himself describes "...really stringent public health orders";
there is no such uniform protection measures (public health orders) between here and Phoenix. (ref. 4)

Please also know that | received a call from Norm Johnson this morning---more upset as he opened his
LES over the weekend to find that 80 hours of Annual Leave was deducted without his permission and

consultation.

Ed, in Norm's own words; beyond the financial hardship and stress, it looks like and feels like GRCA is
discriminating against him because he is Navajo.

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Again, I'm optimistic the Big Brains and Good People of this morning's meeting can find an equitable
solution which is good for Norm and good for the Park. Hopefully the data informs and helps.

Thank You

Very Sincerely,

Elston
928-255-8727

References

1. Department of Health and Human Services (2020). CDC. Navajo nation tracker. Retrieved from
https://www.ndoh.navajo-nsn.gov/COVID-19

2. Arizona Department of Health Services (2020). ADHS Arizona data dashboard. Retrieved from
https://www.azdhs,gov/preparedness/epidemiology-disease-control/infectious-disease-epidemiology/covid-
19/dashboards/

3. John Hopkins University & Medicine (2020). Coronavirus Resource Center. Testing hub, testing trends tool
(Arizona). Retrieved from https://coronavirus.|hu.edu/testing/tracker/overview

4. McMorris-Santoro E (2020). CNN. What states can learn from navajo nation’s case rebound. Retrieved from
https://www.cnn.com/videos/health/2020/07/12/navajo-nation-coronavirus-case-study-arizona-spike-jonathan-
nez-memorris-santoro-nr-vpx.cnn/video/playlists/coronavirus/

5. Leingang R, Steinbach A. (2020) Arizona Republic Arizona. Arizona has highest percentage of positive COVID-19
tests in the US. here’s what it means. Retrieved from https://www.azcentral.com/story/news/local/arizona-
health/2020/07/07/why-arizonas-percent-positive-tests-highest-country/5386600002/

From: Stephenson, Elston L <elston_stephenson@nps.gov>

Sent: Friday, July 10, 2020 7:41 AM

To: Keable, Edward T <edward_keable@nps.gov>

Cc: Burnette, Chris C <chris_burnette@nps.gov>

Subject: Important Awareness (Recommend Not for Action Yet) - Worker Hardship No Pay for 2 Months / Fw:
Request for back pay due to Corona Virus

Ed,
Good Morning.

Please receive this Awareness brief with recommendation of 'Not For Action’... yet. Please also
know that this situation has outsized implications for GRCA's reputation (internally and externally) for
looking after its workers, GRCA's reputation with Native Tribes, and in particular; GRCA's reputation and
relationship with the Navajo Nation.

A GRCA FMD worker is seeking to have some form of COVID-19 options or EFMP retroactively applied
because he has not been paid in 2 months as he has had to care for his ailing mother and negotiate the
COVID-19 tragedy striking the Navajo Nation, the Nation's quarantine/lockdown/curfew restrictions, and
the GRCA quarantine protocols upon returning to GRCA.

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This worker has spoken with his supervisory chain; Zane Johnson and Donna Richardson. He has also
contacted Mike Collins and Lisa Carrico. There is a meeting scheduled with Zane, Donna, Mike, and Lisa
on Monday July 13, 2020. | do not know if the worker will be at the meeting.

Ed, yesterday evening an FMD AutoShop worker, Norm Johnson came to me (extremely upset) to share
that he has not been paid in 2 months and that it is creating an unbearable economic hardship to him
personally and his family on the Navajo Reservation. He left to take care of his mother on the Navajo
Reservation sometime on or before March 25, 2020 and has not been paid between then and June 11,
2020.

Norm (a solid worker and person, a veteran who has been at GRCA for nearly 20 years) has an ailing
mother (elderly with lung cancer) who lives on the Navajo Nation. He has had a longstanding
arrangement worked out with his siblings where they take care of her during the week, and Norm
returns and takes care of her during the weekends. He also contributes financially.

Apparently, somehow none of the options created precisely to avoid just this type of such hardship (e.g.
EFMP, Admin Leave, Weather Leave, Safety Leave) were applied.

Also, in the time that this situation first developed until now, the ‘earth has shifted’ in the awareness
and application of the options in the course of the COVID-19 pandemic which best expresses our
consideration and care of our workers.

A complicating matter is that other workers who came along later appear to be currently negotiating the
COVID tragedy and quarantine/curfew restrictions of the Navajo Nation may be benefiting from the
later, more considerate application of the options.

Lastly, as an auto mechanic, there seems to be a ‘penalty’ insofar as Norm is precluded from
‘quarantining’ while working (as many others can telework) simply by virtue of his job.

| had a conversation with Mike Collins immediately after my conversation with Norm Johnson. He seems
to agree in principle that there options that may be able to retroactively apply which are equitable, take
care of Norm, take care of the Park, and which may even provide a word-of-mouth reputational benefit
to the Park.

Donna is one of our best leaders. Lisa and Dr. Mike are among our best minds. | am optimistic that they
will do what is best and equitable for Norm.

My hope is that it is realized that what is equitable and best for Norm is also what is best for the Park
and the NPS.

Again, Sir, my recommendation is that this is for Awareness. Between Donna, Dr. Mike, and certainly
Lisa, 1am confident that a successful solution will be found. Ordinarily, | would have felt that in the
hands of these leaders to sit still. Respectfully, however; this does potentially have far reaching,
oversized implications for GRCA's reputation (internally and externally) for looking after its workers,
GRCA's reputation with Native Tribes, and in particular; GRCA's reputation and relationship with the
Navajo Nation. As You know, these will be invaluable during the years ahead in dealing with the
development and turns of this pandemic.

Please receive the summary that Norm Johnson forwarded to me (below).

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9/20/2020 Case 3:19-cv-08268-DLR DociiitleRietarsigehqniqd Sutyq'6/20 Page 30 of 33
Thank You.

Very Sincerely,
Elston

Elston L Stephenson, OHST

Safety Health & Wellness Manager
Tort Claims Officer

Grand Canyon National Park
928-255-8727

From: Johnson, Norman NJ <Norman_Johnson@nps.gov>
Sent: Thursday, July 9, 2020 4:14 PM

To: Stephenson, Elston L <elston_stephenson@nps.gov>
Subject: Request for back pay due to Corona Virus

lam requesting back pay and annual leave for (4) pay periods starting on March 25th till June 11th. | was
placed on stay at home orders on March 25th and told to come back to work on April 20th.| came back
on that date and was notified to take two weeks quarantine before starting work posted on my shop
door.| talked to Donna Richardson on that day and told her this was not possible for me to work and
quarantine every week due to me commuting to the reservation every week end to take care of my
elderly mother whom was diagnosed with lung cancer. | told Donna that | will stay on the reservation to
take care of my mom and stay there till the pandemic is over. | asked her if | will still be getting admin
pay referring to the weather&safety leave per the Navajo Nation public health authority memo sent by
Mary Risser. Donna told me that | will not be getting admin pay because | am going back to the
Reservation on my own decision. My immediate supervisor Zane Johnson also told me that | have to
either use annual or sick leave to get payed. | informed Donna and Zane that | will instead take leave
without pay because | did not want to utilize my hard earned annual leave and sick leave because of the
Corona virus. | was on leave without pay for (4) pay periods on the reservation where we were subject
to nightly and week end curfews. | was informed to came back to work on June 15th but told my
supervisor Zane Johnson that | wanted to take sick leave that week due to my allergy problem.| finally
went back to work on June 22nd and was informed by my supervisor that there was no more quarantine
required and only a 25 question check list that my supervisor completed prior to me coming back to
work. Due to this Corona virus pandemic | had a pay stoppage. Upon coming back to work | informed
Donna and Zane that | would like to request back pay.Donna said that she will mention it to Zane. | asked
Zane what Donna told him and he said that Donna neither said yes or no to the back pay request before
she went on leave. | had previously notified Lisa Carrico on this matter and also informed Mike Collins.
Asa federal employee,a tribal member,and a military veteran this Corona virus pandemic should not
cause a pay disruption or pay stoppage to myself or anyone. No employee should be subject to unwillfull
quarantine and told to utilize their annual&sick leave because of this Corona pandemic.All employees
should be treated fairly and equally throughout this pandemic.

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Elston L Stephenson

P.O. Box 1702

Grand Canyon National Park, AZ 86023
September 11, 2020

Honorable President Nez

Dear Mr. President,

Good Morning Sir.

My name is Elston Stephenson. | am Plaintiff in a case that is in federal US District in Phoenix.

Sir, respectfully, | would like to ask that You consider asking your Attorney General to submit an amicus
curiae brief in support of my Motion to have the Court issue a Mandatory Injunction forcing Grand Canyon
National Park (GRCA) to fix dangerous safety, health, wellness, and environmental issues. And to bring the
entire safety program under court oversight for 5 years.

Sir, respectfully, this is not an esoteric, academic, or notional endeavor.
| must admit that |! am new to this entire ‘world’.
lam not a Tribal member.

But, Sir, what | have witnessed—what Tribal members have brought to me for remedy and redress is
shocking in its disparate, insensitive, and frankly racist treatment.

| believe that if You were to contact and poll Tribal people working here—respectfully, including the Navajo;
the number of people feeling targeted and discriminated against would be shocking.

Sir, a very proud Navajo—a very good man, came to me with a ‘situation’ which illuminated disparate
treatment that GRCA subjected Tribal members to as they traveled home and back to work since this
COVID-19 pandemic began. Our quarantine, isolation, and stay-at-home protocols were much more
stringent and discriminatory toward Native Americans. This was only recently changed as my push to the
GRCA Superintendent pointedly showed that the measures that You put in place—as a matter of math,
public safety, and science demonstrated that a person coming from the Navajo Nation was quantitatively
less a risk of spread or contagion than someone spending a weekend in Phoenix, and making stops along
the way. Yet, we imposed draconian measures on GRCA’s Navajo and Hopi workers while imposing nothing
on travelers to ‘Red Zone’ areas.

This resulted in this man and his family suffering extraordinary hardship. He asked that | enclose his email.
But this abject disparate treatment and discrimination seems to have gone on for years, and years.

‘Sir, | try to be a good person. This man gave me what | felt was one of the most meaningful compliments of
my life when, some time ago, he told me that “You have the Tribal Spirit in your heart.”

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That said, Sir, I’m still learning about the Native American life and culture. | feel inadequate to best
represent Native interests, and the rich culture with the expert advocacy that it deserves.

Native people reach out to me to describe hostility, persecution, humiliations, and a lack of agency which
seems chronic and hopeless as a condition of working here—especially in the eyes of someone new and
from the ‘outside’ like me.

I've visited and reached out to NACA and asked their help. But | have yet to hear back.

Inthe meantime, Mr. President, | would like to ask that The Nation considers submitting an amicus brief
which speaks to the Native experience of workers here at Grand Canyon National Park and the impacts and
injury of a history of disparate, undignified, discriminatory treatment. With an emphasis that these are as
much an impactful health danger as falling off a roof while working. And also possible remedies.

Please, Sir, also consider lending expert voice to the environmental damages of the ‘uranium problem’
identified in the Motion—its violations of Native values, the water, and gamut of health dangers.

Sir, please share this with the heads of state of other Nations freely, with the open invitation to join.

Sir, if | may; even if it is not possible to submit an amicus brief supporting this Motion, these Native
American workers need help from someone of power, and shared cultural knowledge, experience, and
identity to make their situation..................human,

Please, the man in the letter asks that someone reach out to him. If need be, | can identify Tribal workers to
contact to share their own experiences.

Please be well.

_ Thank You, Mr. President.

Very Sincerely,

